     Case: 1:17-cv-07250 Document #: 42 Filed: 09/14/18 Page 1 of 1 PageID #:78



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

HAROLD PRICE,                   )
                                )
            Plaintiff,          )
                                )
v.                              )
                                )                      No. 17 cv 7250
NORTHEAST ILLINOIS REGIONAL     )
COMMUTER RAILROAD CORPORATION )                        Magistrate Judge MASON
(d/b/a METRA), and METRA POLICE )
OFFICER THOMAS BABUSCH,         )
                                )
            Defendants.         )

                                  STIPULATION TO DISMISS
       IT IS HEREBY STIPULATED AND AGREED between the Plaintiff, HAROLD PRICE,

and the Defendants, NORTHEAST ILLINOIS REGIONAL COMMUTER RAILROAD

CORPORATION (d/b/a METRA), and METRA POLICE OFFICER THOMAS BABUSCH, by

their respective attorneys of record, that this matter has been resolved by the parties listed and,

therefore, all claims against the defendants should be dismissed without prejudice, automatically

converting to a dismissal with prejudice after 45 days, with each party bearing its own costs and

attorneys’ fees.

Dated: 14 September 2018                               Respectfully Submitted,


                                               By:     /s/ Jeanette Samuels
                                                             Attorney for Plaintiff
                                                       SAMUELS & ASSOCIATES, LTD.
                                                       2925 S. Wabash Avenue
                                                       Chicago, Illinois 60616
                                                       T: (872) 588-8726
                                                       F: (872) 444-3011
                                                       E: sam@jsamlaw.com
